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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                              No. 4:14CR00188-16 JLH

MICHAEL DESHUN DAWKINS                                                      DEFENDANT

                                        ORDER

      Pending before the Court is defendant Michael Deshun Dawkins’ motion to continue the

sentencing hearing currently set for December 9, 2015. Without objection, the motion is

GRANTED. Document #445. The sentencing hearing will be reset by separate notice.

      IT IS SO ORDERED this 8th day of December, 2015.



                                                _________________________________
                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
